                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ALABAMA

 IN RE:                                        *
                                               * CHAPTER 13
 LASHANTE DRAKES,                              *
                                               * CASE NO.: 22-00054-DSC13
        Debtor.                                *
                                               *

          NOTICE OF WITHDRAWAL OF MOTION FOR RELIEF FROM STAY

        COMES NOW HPA III Acquisitions 1 LLC (“Movant”), and files this withdrawal of its

 “Motion for Relief from Stay” (the “Motion”) filed on March 7, 2023. (Doc. 34).

                Dated this 3rd day of August, 2023.


                                             /s/ Stephen B. Porterfield
                                             Stephen B. Porterfield
                                             Attorney for HPA III Acquisitions 1 LLC


 OF COUNSEL:

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                                CERTIFICATE OF SERVICE

         I hereby certify that on this the 3rd day of August, 2023, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 such filing to the following:


         Michael D. Brock                          Bradford W. Caraway, Trustee
         Brock & Stout, LLC                        Chapter 13 Standing Trustee
         P. O. Drawer 311167                       P.O. Box 10848
         Enterprise, AL 36331                      Birmingham, AL 35216



         and I hereby certify that I have mailed by United States Postal Service the document to
 the following non-CM/ECF participant:

         LaShante Drakes
         4834 Sulphur Springs Road
         Birmingham, AL 35226


                                            /s/ Stephen B. Porterfield
                                            OF COUNSEL




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